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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA,
                          GREAT FALLS DIVISION

                              )
UNITED STATES OF AMERICA,     ) Case No. CR 16-19-GF-BMM
                              )
         Plaintiff,           )
                              ) ORDER
    v.                        )
                              )
ENCORE SERVICES, LLC, ZACHARY )
BROOKE ROBERTS, MARTIN GASPER )
MAZZARA, and RICHARD LEE      )
BROOME                        )
                              )
         Defendants.          )


        Defendants have filed a Joint Unopposed Motion to Unseal all Court

Records, Filings, and Transcripts related to the Alleged Co-conspirators in this

case.

        IT IS ORDERED that the Defendants’ motion (Doc164) is GRANTED.

        IT IS FURTHER ORDERED that the Clerk of Court shall unseal all court

records/filings/transcripts related to the alleged co-conspirators in this matter:
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              1.      Neal Rosette;

              2.      Billi Anne Morsette;

              3.      John Chance Houle;

              4.      Anthony “Tony” Belcourt;

              5.      Bruce Sunchild;

              6.      Shad Huston;

              7.      James Eastlick, Jr.

      This includes, but is not limited to, any sentencing memorandums for said

individuals that were filed under seal, and any proceedings which were transcribed

under seal as well. In addition, the request also applies to any 5K1 motions that

were filed under seal for the above stated individuals.

      IT IS FURTHER ORDERED that any said materials can only be unsealed

for Defendants and their counsel to view; and said materials are to be disclosed

pursuant to a protective order, which would not allow the information to be turned

over to anyone else, including defendants, besides defense counsel.

      IT IS FURTHER ORDERED that the government agrees that defendants

can review said materials, however, they cannot have their own copy.

      IT IS FURTHER ORDERED that said materials can be used for further

motions and for use at trial including, but not limited to, for cross-examination

purposes.
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DATED this 6th day of March, 2017.
